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9
10                                UNITED STATES DISTRICT COURT
11
                                 CENTRAL DISTRICT OF CALIFORNIA

12
          Gary Scherer,                           Case No.
13
                    Plaintiff,
14                                                Complaint For Damages And
             v.                                   Injunctive Relief For Violations
15                                                Of: American’s With Disabilities
          Simco Financial Services Inc., a        Act; Unruh Civil Rights Act
16        California Corporation;
          Serafin Alcantar; and Does 1-10,
17
                    Defendants.
18
19
              Plaintiff Gary Scherer complains of Simco Financial Services Inc., a
20
        California Corporation; Serafin Alcantar; and Does 1-10 (“Defendants”), and
21
        alleges as follows:
22
23
          PARTIES:
24
          1. Plaintiff is a California resident with physical disabilities. He suffers
25
        from a form of ataxia that significantly impairs his mobility and thus uses a
26
        wheelchair for mobility.
27
          2. Defendant Simco Financial Services Inc. owned the real property
28
        located at or about 18541 Sherman Way, Reseda, California, in April 2019.

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1         3. Defendant Simco Financial Services Inc owns the real property located
2       at or about 18541 Sherman Way, Reseda, California, currently.
3         4. Defendant Serafin Alcantar owned Super Clothes Discount Store
4       located at or about 18541 Sherman Way, Reseda, California, in April 2019.
5         5. Defendant Serafin Alcantar owns Super Clothes Discount Store
6       (“Store”) located at or about 18541 Sherman Way, Reseda, California,
7       currently.
8         6. Plaintiff does not know the true names of Defendants, their business
9       capacities, their ownership connection to the property and business, or their
10      relative responsibilities in causing the access violations herein complained of,
11      and alleges a joint venture and common enterprise by all such Defendants.
12      Plaintiff is informed and believes that each of the Defendants herein,
13      including Does 1 through 10, inclusive, is responsible in some capacity for the
14      events herein alleged, or is a necessary party for obtaining appropriate relief.
15      Plaintiff will seek leave to amend when the true names, capacities,
16      connections, and responsibilities of the Defendants and Does 1 through 10,
17      inclusive, are ascertained.
18
19        JURISDICTION & VENUE:
20        7. The Court has subject matter jurisdiction over the action pursuant to 28
21      U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
22      Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
23        8. Pursuant to supplemental jurisdiction, an attendant and related cause
24      of action, arising from the same nucleus of operative facts and arising out of
25      the same transactions, is also brought under California’s Unruh Civil Rights
26      Act, which act expressly incorporates the Americans with Disabilities Act.
27        9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
28      founded on the fact that the real property which is the subject of this action is


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1       located in this district and that Plaintiff's cause of action arose in this district.
2
3           FACTUAL ALLEGATIONS:
4           10. Plaintiff went to the Store in April 2019 with the intention to avail
5       himself of its goods or services and to assess the business for compliance with
6       the disability access laws.
7           11. The Store is a facility open to the public, a place of public
8       accommodation, and a business establishment.
9           12. Paths of travel are one of the facilities, privileges, and advantages
10      offered by Defendants to patrons of the Store.
11          13. Unfortunately, on the date of the plaintiff’s visit, the defendants did not
12      provide accessible paths of travel inside the Store in conformance with the
13      ADA Standards.
14          14. Currently, the defendants do not provide accessible paths of travel in
15      conformance with the ADA Standards.1
16          15. The Store has a sales counter where it handles its transactions with
17      customers.
18          16. Unfortunately, on the date of the plaintiff’s visit, the defendants did not
19      provide an accessible sales counter in conformance with the ADA Standards.
20          17. Currently, the defendants do not provide an accessible sales counter in
21      conformance with the ADA Standards.
22          18. Parking spaces are another one of the facilities, privileges, and
23      advantages offered by Defendants to patrons of the Store.
24          19. Unfortunately, on the date of the plaintiff’s visit, the defendants did not
25
26
        1
          For example, some of the paths of travel inside the Store narrow to well below 36 inches in width. On
27      information and belief there are other issues with the paths of travel, both outside as well as inside the Store,
        that render them non-compliant. Those issues will be fleshed out in discovery and inspections. The plaintiff
28      seeks to have accessible paths of travel.



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1       provide accessible parking in conformance with the ADA Standards. 2
2           20. Currently, the defendants do not provide accessible parking in
3       conformance with the ADA Standards.
4           21. Plaintiff personally encountered these barriers.
5           22. By failing to provide accessible facilities, the defendants denied the
6       plaintiff full and equal access.
7           23. The lack of safe and accessible facilities created difficulty and
8       discomfort for the Plaintiff.
9           24. The defendants have failed to maintain in working and useable
10      conditions those features required to provide ready access to persons with
11      disabilities.
12          25. The barriers identified above are easily removed without much
13      difficulty or expense. They are the types of barriers identified by the
14      Department of Justice as presumably readily achievable to remove and, in fact,
15      these barriers are readily achievable to remove. Moreover, there are numerous
16      alternative accommodations that could be made to provide a greater level of
17      access if complete removal were not achievable.
18          26. Plaintiff will return to the Store to avail himself of goods or services and
19      to determine compliance with the disability access laws once it is represented
20      to him that the Store and its facilities are accessible. Plaintiff is currently
21      deterred from doing so because of his knowledge of the existing barriers and
22      his uncertainty about the existence of yet other barriers on the site. If the
23      barriers are not removed, the plaintiff will face unlawful and discriminatory
24      barriers again.
25          27. Given the obvious and blatant nature of the barriers and violations
26
        2
          For example, the parking stall and access aisle were not level with each other because there was a built up
27      curb ramp running into the access aisle. On information and belief there are other issues with the parking that
        renders it non-compliant. Those issues will be fleshed out in discovery and inspections. The plaintiff seeks
28      to have accessible parking.



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1       alleged herein, the plaintiff alleges, on information and belief, that there are
2       other violations and barriers on the site that relate to his disability. Plaintiff will
3       amend the complaint, to provide proper notice regarding the scope of this
4       lawsuit, once he conducts a site inspection. However, please be on notice that
5       the plaintiff seeks to have all barriers related to his disability remedied. See
6       Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
7       encounters one barrier at a site, he can sue to have all barriers that relate to his
8       disability removed regardless of whether he personally encountered them).
9
10      I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
11      WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
12      Defendants.) (42 U.S.C. section 12101, et seq.)
13        28. Plaintiff re-pleads and incorporates by reference, as if fully set forth
14      again herein, the allegations contained in all prior paragraphs of this
15      complaint.
16        29. Under the ADA, it is an act of discrimination to fail to ensure that the
17      privileges, advantages, accommodations, facilities, goods and services of any
18      place of public accommodation is offered on a full and equal basis by anyone
19      who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
20      § 12182(a). Discrimination is defined, inter alia, as follows:
21                a. A failure to make reasonable modifications in policies, practices,
22                   or procedures, when such modifications are necessary to afford
23                   goods,     services,     facilities,   privileges,    advantages,      or
24                   accommodations to individuals with disabilities, unless the
25                   accommodation would work a fundamental alteration of those
26                   services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
27                b. A failure to remove architectural barriers where such removal is
28                   readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are


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1                    defined by reference to the ADA Standards.
2                c. A failure to make alterations in such a manner that, to the
3                    maximum extent feasible, the altered portions of the facility are
4                    readily accessible to and usable by individuals with disabilities,
5                    including individuals who use wheelchairs or to ensure that, to the
6                    maximum extent feasible, the path of travel to the altered area and
7                    the bathrooms, telephones, and drinking fountains serving the
8                    altered area, are readily accessible to and usable by individuals
9                    with disabilities. 42 U.S.C. § 12183(a)(2).
10        30. When a business provides paths of travel for its customers, it must
11      provide accessible paths of travel in compliance with the ADA Standards.
12        31. Here, the lack of accessible paths of travel is a violation of the law.
13        32. When a business provides facilities such as a sales or transaction
14      counter, it must provide an accessible sales or transaction counter in
15      compliance with the ADA Standards.
16        33. Here, no such accessible sales counter has been provided in violation of
17      the ADA.
18        34. When a business provides parking for its customers, it must provide
19      accessible parking in compliance with the ADA Standards.
20        35. Here, the lack of accessible parking is a violation of the law.
21        36. The Safe Harbor provisions of the 2010 Standards are not applicable
22      here because the conditions challenged in this lawsuit do not comply with the
23      1991 Standards.
24        37. A public accommodation must maintain in operable working condition
25      those features of its facilities and equipment that are required to be readily
26      accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
27        38. Here, the failure to ensure that the accessible facilities were available
28      and ready to be used by the plaintiff is a violation of the law.


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1       II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
2       RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
3       Code § 51-53.)
4          39. Plaintiff repleads and incorporates by reference, as if fully set forth
5       again herein, the allegations contained in all prior paragraphs of this
6       complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
7       that persons with disabilities are entitled to full and equal accommodations,
8       advantages, facilities, privileges, or services in all business establishment of
9       every kind whatsoever within the jurisdiction of the State of California. Cal.
10      Civ. Code §51(b).
11         40. The Unruh Act provides that a violation of the ADA is a violation of the
12      Unruh Act. Cal. Civ. Code, § 51(f).
13         41. Defendants’ acts and omissions, as herein alleged, have violated the
14      Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
15      rights to full and equal use of the accommodations, advantages, facilities,
16      privileges, or services offered.
17         42. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
18      discomfort or embarrassment for the plaintiff, the defendants are also each
19      responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
20      (c).)
21
22                PRAYER:
23                Wherefore, Plaintiff prays that this Court award damages and provide
24      relief as follows:
25              1. For injunctive relief, compelling Defendants to comply with the
26      Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
27      plaintiff is not invoking section 55 of the California Civil Code and is not
28      seeking injunctive relief under the Disabled Persons Act at all.


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1          2. Damages under the Unruh Civil Rights Act, which provides for actual
2       damages and a statutory minimum of $4,000 for each offense.
3          3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
4       to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
5
        Dated: May 8, 2019              CENTER FOR DISABILITY ACCESS
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7
8                                       By:
9                                       ____________________________________

10                                            Russell Handy, Esq.
                                              Attorney for plaintiff
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